Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 1 of 11 PageID #:3897




                      EXHIBIT A
                REDACTED VERSION
Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 2 of 11 PageID #:3898




                            A1. CMBM-00070089
              Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 3 of 11 PageID #:3899
 From:                     Dan McCarthy
 To:                       Sakid Ahmed
 Sent:                     3/17/2017 6:54:37 AM
 Subject:                  Fwd: Elevate banner
 Attachments:              CAM_335x88_elevate_forReferenceOnly.pdf




As promised ........ .




Begin forwarded message:

From: Dan McCarthy <dmc00l@cambiumnetworks.com>
Subject: Elevate banner
Date: 17 March 2017 11: 19:04 GMT
To: Simon Staddon <simon.staddon@cambiumnetworks.com>

Something like this for the pop-up



And this for the fleeces ........ .




                e                                    el

What colour do you think the fleeces should be? Dark blue??




Cheers,


Dan




CONFIDENTIAL RESTRICTED -ATTORNEYS' EYES ONLY                                           CMBM-00070089
Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 4 of 11 PageID #:3900




                            A2. CMBM-00012411
            Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 5 of 11 PageID #:3901
 From:                  Sakid Ahmed
 To:                    Mark Goosen
 CC:                    Guillermo Moreno
 Sent:                  2/20/2018 4:41:09 PM
 Subject:                       Elevate jackets




Mark,
I would like to send some Elevate jackets over to   Can you get me some sizes and quantity along with a ship
to address?

Thanks
Sakid




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Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 6 of 11 PageID #:3902




                                  A3. CMBM-00166669


                     REQUESTED TO BE
                          CLAWED BACK
Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 7 of 11 PageID #:3903




                            A4. CMBM-00024835
            Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 8 of 11 PageID #:3904
 From:                 Dmitry Moiseev </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                       (FYDI BOHF23SPDLT)/CN=RECIPI ENTS/CN=D3E716563E314C14B20FF77CE97DEE26-DM ITRY
                       MOIS>
 Sent:                 2/21/2018 8:49:23 AM
 To:                   Lisa Frezza <lisa.frezza@cambiumnetworks.com>
 Subject:              Accepted:                                 - let's talk about it!
 Show Time As:         Free

 Recurrence:           (none)
 Required Attendees:   Lisa Frezza




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Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 9 of 11 PageID #:3905




                            A5. CMBM-00028777
             Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 10 of 11 PageID #:3906
                                                                                                            Sakid Ahmed
   Lagos, Nigeria




                                                                                              Itinerary # 25643544276


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                                                                                                          Confi rmation OLHRB6

    AIRFRANCE J                                      FLIGHT    T ER MI NAL            SEAT                CLASS
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                                                                                                      ACH CLASS(B)
                                                                                                           (B)



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                                                                   Arriving in terminal




                                                                                                          Confi rmation OLHRB6

    AIRFRANCEJ                                       FLI GHT   T ERMINAL              SEAT                CLASS
      Al~ FRANCF


                               •                     AF 104
                                                               AEROGARE2
                                                               TERMINAL E
                                                                                                      ECONOMY/CO
                                                                                                      ACH CLASS(B)
                                                                                                            (B)



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                                                                  Arriving in termi nal




CONFIDENTIAL RESTRICTED -ATTORNEYS' EYES ONLY                                                                 CMBM-00028777
             Case: 1:18-cv-05369 Document #: 151 Filed: 06/04/20 Page 11 of 11 PageID #:3907
                                                                                                             Sakid Ahmed
   Lagos, Nigeria




                                                                                                       O
                                                                                                           Confi rmation OLHRB6

    AIRFRANCE I                                      FLI GHT   T ERMINAL              SEAT                 CLASS
      A IR FRANCE


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                                                                                       108
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                                                                                                       CLASS(S) (S)



                                                                                                  :?( 772 - BOE ING 777/200


                                                                   Arri ving in terminal




                                                                                                           Confi rmation OLHRB6

    AIRFRANCEI                                       FLIGHT    T ERMINAL              SEAT                 CLAS S
      A IR FRANCE


                                   •                 AF 136
                                                               AEROGARE2
                                                               TERMINAL E
                                                                                       218
                                                                                                        PREMIUM
                                                                                                        ECONOMY
                                                                                                       CLASS(S) (S)



                                                                                           :?( AIRBU S INDUSTRIE A330-200


                                                                            Arriving in terminal




         Base


         Taxes and Airli ne fees


     Air booking fee




CONFIDENTIAL RESTRICTED -ATTORNEYS' EYES ONLY                                                                  CMBM-00028778
